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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 WISCONSIN VOTERS ALLIANCE, et al.,

        PLAINTIFFS,

 V.
                                                        CASE NO.: 1:20-CV-03791-JEB
 VICE PRESIDENT MICHAEL R. PENCE,
 et al.,

        DEFENDANTS.



   ERICK G. KAARDAL, ESQ. AND MOHRMAN, KAARDAL & ERICKSON, P.A.’S
      RESPONSE TO JANUARY 7, 2021, MINUTE ORDER TO SHOW CAUSE

       Non-Party Respondents Erick G. Kaardal, Esq. and Mohrman, Kaardal & Erickson, P.A.

(collectively referred to as “Plaintiffs’ Counsel”), by and through their counsel, Justin M. Flint,

Channing L. Shor, and ECCLESTON & WOLF, P.C., pursuant to Rule 7(b) of the of the Federal

Rules of Civil Procedure, hereby file this Response to this Court’s January 7, 2021, Minute Order

to Show Cause in the above-captioned matter, and in support thereof respectfully state:

  I.   Introduction

       Clear and convincing evidence does not exist that Erick Kaardal, Esq. engaged in conduct

that would warrant discipline. Mr. Kaardal respectfully disagrees with this Court’s conclusion that

this lawsuit was a “symbolic political gesture” filed with “serious lack of good faith.” See ECF

No. 10 at 6. As set forth in Erick Kaardal’s 42-page Declaration attached as Exhibit A, extensive

research and consideration went into planning and preparing Plaintiffs’ arguments for this case.

See Ex. A, Kaardal Declaration. Likewise, Mr. Kaardal respectfully disagrees with this Court’s

conclusion that Plaintiffs’ Counsel failed to “make any effort to serve or formally notify any
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Defendant.” See ECF No. 10 at 6. In fact, Plaintiffs’ Counsel commenced efforts to serve all the

Defendants on December 22, 2020 – prior to issuance of this Court’s December 23, 2020, Minute

Order – and actually served all but two Defendants prior to this Court’s filing of the January 4,

2021, Memorandum Opinion. Ex. C, ECF No. 11 and Ex. D, ECF No. 15. Mr. Kaardal catalogs

in detail his efforts regarding service and his interpretation that this Court’s December 23, 2020,

Minute Order required him to file the proofs of service only after all the Defendants were served.

Ex. A at ¶¶ 41-48. By January 4, 2021, when this Court issued its Memorandum Opinion, Mr.

Kaardal had two remaining Defendants to serve which is why he had not filed proofs of service.

Id.

       In his Declaration, Mr. Kaardal answers this Court’s other questions regarding the timing

of filing the Complaint in this case, Plaintiffs’ standing to pursue this lawsuit, this Court’s personal

jurisdiction over the Defendants, and the legal basis underpinning the central arguments in the

Complaint and Motion for Preliminary Injunction. Accordingly, this Court should exercise its

discretion and decline to refer Mr. Kaardal to the Committee on Grievances (“the Committee”)

due to the potential chilling effect a referral would have on future litigants who assert good faith

arguments for an extension, modification, or reversal of existing law.

 II.   Factual Background

       The 59th quadrennial presidential election was held on Tuesday, November 3, 2020. The

electoral votes were cast in the respective states on December 14, 2020, pursuant to 3 U.S. Code

§ 7 which states:

               The electors of President and Vice President of each State shall meet
               and give their votes on the first Monday after the second Wednesday
               in December next following their appointment at such place in each
               State as the legislature of such State shall direct.




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On December 22, 2020 – just eight (8) days later – Plaintiffs filed the above captioned action. As

set forth in Mr. Kaardal’s Declaration, the claims in this case were not ripe before December 14,

2020, and could possibly have been mooted prior to that date. Ex. A at ¶¶ 18-19. On December

22, 2020, Plaintiffs filed their Complaint and Motion for Preliminary Injunction. See ECF Nos. 1-

8. Mr. Kaardal immediately began efforts to serve all Defendants. Ex. A at ¶¶ 41-42. On December

23, 2020, this Court issued a Minute Order which stated in full “MINUTE ORDER: The Court

ORDERS that, as soon as Plaintiffs file proofs of service on all Defendants, a briefing schedule

and hearing shall be set. So ORDERED by Judge James E. Boasberg on 12/23/2020.” Ex. F,

Docket, at 7. As Mr. Kaardal explains:

                 Accordingly, in good faith, I interpreted this Court’s Order as
                 requiring the proofs of service be filed after “all” the Defendants
                 were served. I interpreted the order in this manner because I
                 assumed that the Court could not set a briefing schedule and hearing
                 date until after all defendants had been served. I also did not want
                 to place the burden on the Court of determining when all of the
                 defendants had been served. Rather, I believed that what the Court
                 wanted me to do was to file the proofs of service after all of the
                 defendants had been served.

Ex. A at ¶ 44.

       Notably, Rule 4(m) of the Federal Rules of Civil Procedure provides that Defendants are

to be served within 90 days after the Complaint is filed. USCS Fed Rules Civ Proc R 4(m) (2020).

Thirteen (13) days after the Complaint was filed and twelve (12) days after its Minute Order on

December 23, 2020, a timeframe which included two weekends, Christmas Day and New Year’s

Day, this Court issued its Memorandum Opinion on January 4, 2021, stating in relevant part that

there was a “failure to make any effort to serve or formally notify any Defendant – even after

reminder by the Court in its Minute Order – renders it difficult to believe that the suit is meant

seriously.” See ECF No. 10 at 6. This Court also stated:




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                Courts are not instruments through which parties engage in such
                gamesmanship or symbolic political gestures. As a result, at the
                conclusion of this litigation, the Court will determine whether to
                issue an order to show cause why this matter should not be referred
                to its Committee on Grievances for potential discipline of Plaintiffs’
                counsel.

Id. Following this Court’s Order, Mr. Kaardal memorialized his efforts regarding service in a letter

to this Court which was electronically filed at ECF Number 11 on January 5, 2021. Ex. C, ECF

No. 11. Also on January 5, 2021, Mr. Kaardal filed multiple Return of Service Affidavits and

Waiver of Service Forms at ECF Numbers 12-14. Ex. E, ECF Nos. 12-14. This Court’s Clerk

advised Mr. Kaardal on January 6, 2021, that his letter to this Court was rejected because it did not

have a case caption so Mr. Kaardal refiled the Notice of Filing of Proofs of Service on January 6,

2021. Ex. D, ECF No. 15.

        On January 7, 2021, Plaintiffs filed a Notice of Voluntary Dismissal without Prejudice. See

ECF No. 16. Subsequently, on January 7, 2021, this Court issued two Minute Orders: one

dismissing this case without prejudice pursuant to Plaintiffs’ Voluntary Dismissal and one ordering

Plaintiffs’ Counsel to “show cause why the Court should not refer him to the Committee on

Grievances for all of the reasons discussed in its recent [10] Memorandum Opinion.” Ex. F at 8.

III.    Summary of Arguments in Complaint and Motion for Preliminary Injunction

        The crux of the Complaint and Motion for Preliminary Injunction is that the Federal

Electoral Counting Act, and specifically 3 USC § 15, is unconstitutional as an unconstitutional

interference with state legislatures’ power to approve Presidential votes and Presidential Electors

granted by Article II and reserved by the Tenth Amendment. See e.g. Ex. A at ¶¶ 51-56. Plaintiffs

asserted that “only the state legislature could certify the Presidential Electors after the election

under Article II and send that certification to Congress to be counted by the President of the U.S.

Senate.” Id. at ¶ 53.



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        As Mr. Kaardal explains in his attached Declaration, “under the intertextual constitutional

arguments sometimes called the independent state legislature doctrine, Article II grants each state

legislature with the sole plenary authority to determine the Presidential Electors which federal law,

except for a constitutional amendment, and state law cannot abridge.” Id. at ¶ 56 (internal

quotations omitted). Mr. Kaardal explains, “[i]f the Plaintiffs prevailed, since the state legislature

has plenary authority, and a corresponding constitutional duty, and the state legislature is not

subject to any court injunction, the Plaintiffs proposed an appropriate declaratory judgment and

related injunction under Rule 65 of the Rules of Civil Procedure – i.e., that is Congress not counting

the votes of Presidential Electors who did not obtain post-election certification from the respective

state legislatures.” Id. at ¶ 56.

IV.     Legal Argument

        Local Rule 83.16(d)(2) provides in full, “[a]ny court, judge or United States magistrate

judge in the District of Columbia may refer to the Committee the name of any attorney subject to

these Rules on a Complaint that such attorney has engaged in conduct which, if substantiated,

would warrant the imposition of discipline.” LCvR 83.16(d)(2) (2021). Following the filing of

charges, the Discipline Panel only imposes discipline on an attorney if the charges are sustained

by clear and convincing evidence. LCvR 83.16(d)(8) (2021).

        In disciplinary proceedings, the District of Columbia Office of Disciplinary Counsel also

has the burden of establishing violations of the District of Columbia Rules of Professional Conduct

(“Rules”) with clear and convincing evidence. In re Anderson, 778 A.2d 330, 335 (D.C. 2001).

Because an attorney admitted to practice before this Court is subject to the Rules, this Court can

look to District of Columbia Court of Appeals decisions which apply and interpret the Rules.




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       The District of Columbia Court of Appeals has frequently defined the clear and convincing

evidence standard in the context of attorney discipline. Specifically, the clear and convincing

evidence standard is more stringent than a preponderance of the evidence standard. In re Dortch,

860 A.2d 346, 358 (D.C. 2004). Under the clear and convincing evidence standard, evidence must

be presented “that will produce in the mind of the trier of fact a firm belief or conviction as to the

facts sought to be established.” In re Allen, 27 A.3d 1178, 1184 (D.C. 2011) (internal quotations

omitted). The degree of persuasion for clear and convincing evidence is “much higher than mere

preponderance of the evidence but still somewhat less than beyond a reasonable doubt.” D.C. v.

Hudson, 404 A.2d 175, 179 (D.C. 1979) (internal quotations omitted). Therefore, the clear and

convincing standard “expresses a preference for [the attorney’s] interests by allocating more of the

risk of error to [Disciplinary Counsel] who bears the burden of proof.” In re Dortch, 860 A.2d at

358 (internal quotations omitted).

       Clear and convincing evidence does not exist that Mr. Kaardal acted in bad faith or filed a

frivolous lawsuit. In fact, just the opposite, Mr. Kaardal submits with this Response a 42-page

Declaration which details his basis in law and fact for this lawsuit, his research underpinning the

legal arguments he asserted on behalf of his clients in this case, in addition to addressing this

Court’s other concerns raised in its January 4, 2021, Memorandum Opinion. See Ex. A. Mr.

Kaardal conducted research to determine the viability of Plaintiffs’ potential arguments and

declares:

                Prior to filing the Complaint in this case, I performed a significant
                amount of legal research. My legal research determined that there is
                a strong legal argument that after each Presidential election every
                four years each state legislature must meet and vote to determine the
                state’s Presidential Electors. The underlying legal basis of this
                argument rests on the “independent state legislature doctrine,” a
                legal doctrine essentially stating that when the U.S. Constitution
                calls for the state legislatures to perform an act, each state



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               legislature, is the only body authorized to perform the act without
               interference from any other body or law.

Ex. A at ¶ 51. As Mr. Kaardal declares under penalty of perjury, he takes his duty as an officer of

this Court seriously and had a good faith belief that his clients had a meritorious claim that the

Federal Electoral Counting Act, and specifically 3 USC § 15, is unconstitutional under Article II

Section 1 of the United States Constitution. Id. at ¶ 130.

       Moreover, Mr. Kaardal’s arguments supporting personal jurisdiction over the state

Defendants acting in their official capacity should not be the subject of a grievance because the

assertion of personal jurisdiction over state officials acting in their official capacity is an “open

question” in this Circuit as this District Court recognized as recently as 14 months ago in Trump

v. Comm. on Ways and Means, 415 Supp.3d 98, 106 (D.D.C. 2019). In fact, the issue is so “open”

and unsettled the Circuit Court appointed amicus counsel to brief the issue to the Circuit Court in

West v. Lynch, 427 U.S. App. D.C. 260 (2017). Mr. Kaardal’s arguments are virtually identical to

the arguments made by the amicus counsel appointed by the Circuit Court. These arguments should

not be the subject of a referral to the Committee as alleged misconduct.

       Importantly, Mr. Kaardal’s actions as counsel for Plaintiffs in this lawsuit are supported

with a professional ethics expert opinion from Richard Driscoll, Esq. Mr. Driscoll is admitted to

practice in the District of Columbia, Maryland, and Virginia; has been an attorney for 30 years and

a member of this Court for over 20 years; and since at least 1995, a focus of his practice involves

advising and representing individual attorneys and law firms regarding their professional

obligations and liability. Ex. B, Driscoll Declaration at ¶ 1.

       As set forth in Mr. Driscoll’s attached Declaration at Exhibit B, Mr. Driscoll opines to a

reasonable degree of legal certainty that Mr. Kaardal acted in compliance with Rule 3.1. Id. at ¶¶

3, 20. Mr. Driscoll notes:



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                Attorneys who are admitted to practice before the District Court are
                subject to the District of Columbia Rules of Professional Conduct
                (“Rules”). A violation of the Rules is grounds for discipline by the
                Committee on Grievances (“Committee”). LCvR 83.15(a). When
                deemed necessary or appropriate, a Court may refer a Complaint to
                the Committee regarding any attorney who engaged in conduct
                which, if substantiated, would warrant the imposition of discipline.
                LCvR 83.16(d)(2). If the alleged misconduct identified in a
                complaint to the Committee is sustained by clear and convincing
                evidence, the Committee “may reprimand, censure, suspend, disbar
                or otherwise discipline” the attorney. LCvR 83.16(d)(8).

Id. at ¶ 5.

        At issue in this matter is Rule 3.1 of District of Columbia Rules of Professional Conduct

(“Rule 3.1”) which is titled “Meritorious Claims and Contentions” and provides in part:

                A lawyer shall not bring or defend a proceeding, or assert or
                controvert an issue therein, unless there is a basis in law and fact for
                doing so that is not frivolous, which includes a good faith argument
                for an extension, modification, or reversal of existing law.

D.C. Bar Appx. A, Rule 3.1 (2021).

        As Mr. Driscoll sets forth:

                Attorney conduct is governed by the words of each Rule of
                Professional Conduct. However, general guidance from the
                introductory Scope of the Rules applies to Mr. Kaardal’s
                circumstances. The District of Columbia, and other jurisdictions,
                view the Rules as “rules of reason” that “should be interpreted with
                reference to the purposes of legal representation and of the law
                itself.” Scope, Comment [1]. “The Rules simply provide a
                framework for the ethical practice of law.” Id. at Comment [2].

Ex. A at ¶ 8.

        Importantly, Mr. Driscoll concludes:

                Mr. Kaardal’s compliance with Rule 3.1 is evaluated by the facts
                and circumstances known on December 22, 2020, the filing date for
                the Complaint and related Motion for Preliminary Injunction:

                Failure to comply with an obligation or prohibition imposed by a
                rule is a basis for invoking the disciplinary process. The Rules



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                presuppose that disciplinary assessment of a lawyer’s conduct will
                be made on the basis of the facts and circumstances as they existed
                at the time of the conduct in question and in recognition of the fact
                that a lawyer often has to act upon uncertain or incomplete
                evidence of the situation. Moreover, the Rules presuppose that
                whether or not discipline should be imposed for a violation, and the
                severity of a sanction, depend on all the circumstances, such as the
                willfulness and seriousness of the violation, extenuating factors, and
                whether there have been previous violations.

                Scope, Comment [3] (emphasis added).

Ex. A at ¶ 9.

        Moreover, as Mr. Driscoll explains:

                When applying Rule 3.1 in the District of Columbia, the Committee
                is instructed that the law is not static and determining a meritorious
                claim from an ethical perspective must account for the “law’s
                ambiguities and potential for change.” Comment [1] to D.C. Rule
                3.1 reads, in part:

                The law, both procedural and substantive, establishes the limits
                within which an advocate may proceed. However, the law is not
                always clear and never is static. Accordingly, in determining the
                proper scope of advocacy, account must be taken of the law’s
                ambiguities and potential for change.

                (Emphasis added.)

Id. at ¶ 10.

        As Mr. Driscoll opines:

                Claims for relief have merit even when the attorney advancing a
                claim does not believe it will succeed provided there is a basis in
                law and fact that is not frivolous. The guidance from Comment [2]
                applies with full force to this case:

                Such action is not frivolous even though the lawyer believes that the
                client’s position ultimately will not prevail. The action is frivolous
                if the lawyer is unable either to make a good-faith argument on
                the merits of the action taken or to support the action taken by a
                good-faith argument for an extension, modification, or reversal of
                existing law.




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                 Rule 3.1, Comment [2] (emphasis added). Comment [2] clarifies
                 that likelihood of success on the merits is not the touchstone for
                 determining a meritorious claim. Indeed, every unsuccessful litigant
                 advanced at least one claim that was not likely to succeed.

Ex. A at ¶ 11.

       Significantly, Mr. Driscoll opines:

                 The language of, and Comments for, Rule 3.1 clearly demonstrate
                 that determining whether a claim is meritorious is not concerned
                 with the likability of the plaintiff(s), their political viewpoints, the
                 equity of their position, the equity of the relief sought, whether one
                 would advise their own client to file such a claim, or any similar
                 considerations. It matters only whether there is an objective basis
                 in law and fact for the claim that is not frivolous.

Id. at ¶ 12 (emphasis original).

       Mr. Kaardal explains in his Declaration the Complaint and Motion for Preliminary

Injunction followed the legal arguments asserted by Vasan Kesavan in his law review article “Is

the Electoral Count Act Unconstitutional?” which argues that 3 USC § 15 is unconstitutional. Ex.

A at ¶ 74 and Ex. G, Vasen Kesavan, Is the Electoral Count Act Unconstitutional, 80 N.C. L. Rev.

1653 (2002). Additionally, Mr. Driscoll explains:

                 Relying on intertextual and structural modes of constitutional
                 interpretation, Plaintiffs allege that the term “direct” as used in
                 Article II, Section 1, requires the state legislature to be directly
                 engaged in, and may not delegate, the post-election certification of
                 Presidential votes and Presidential electors. Recently, the U.S. Court
                 of Appeals for the Seventh Circuit acknowledged that the “Electors
                 Clause” is susceptible to “at least” two differing interpretations, and
                 possible more:

                 Defining the precise contours of the Electors Clause is a difficult
                 endeavor. The text seems to point to at least two constructions, and
                 the case law interpreting or applying the Clause is sparse. This
                 case does not require us to answer the question, as the Commission’s
                 guidance did not amount to a violation under the two most likely
                 interpretations.

                 Trump v. Wisconsin Elections Comm’n, 983 F.3d 919, 926 (7th Cir.
                 2020) (emphasis added). The Seventh Circuit’s statements


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                 recognize the ambiguity in the Electors Clause, which places the
                 alleged claims of the Complaint within the area where
                 “consideration should be given to the clarity or ambiguity of the
                 law.” In re Spikes, 881 A.2d 1118, 1125 (D.C. 2005). Mr. Kaardal
                 was engaged in a “difficult endeavor.” Because “the law is not
                 always clear and never is static, . . . lawyers must be able to press
                 for change and reform in the law” Id.

Ex A at ¶ 17.

       Accordingly, Mr. Kaardal had a good faith argument for an extension, modification, or

reversal of existing law in conformance with Comment [2] to Rule 3.1. Mr. Kaardal, on behalf of

his clients, advanced an argument supported by Supreme Court precedent and a law review article

addressing the constitutionality of the Federal Electoral Counting Act, specifically 3 USC § 15, as

well as state statutes – i.e. Ariz. Rev. Stat. § 16-212 (B), Ga. Code Ann. § 21-2-499 (B), Mich.

Comp. Laws. § 168.46, Wis. Stat. § 7.70 (5) (b) and 25 Pa. Cons. Stat. § 3166 which impermissibly

delegate post-election certification, perpetually and in a wholesale fashion, to state executive

branch officials. Ex. A at ¶ 129. Mr. Driscoll also concludes:

                 Based on my review of the Complaint, Motion for Preliminary
                 Injunction, authorities cited therein, Declaration of Erick G. Kaardal
                 and independent research, it is my opinion that the claims alleged in
                 the Complaint filed by Mr. Kaardal on December 22, 2020 do not
                 violate Rule 3.1 of the D.C. Rules of Professional Conduct. At a
                 minimum, Mr. Kaardal possessed a legal basis consisting of a good-
                 faith argument for an extension, modification, or reversal of existing
                 law and a factual basis consisting of five state legislative schemes
                 consistent with his legal theory.

Ex. B at ¶ 16.

       While this Court ultimately did not agree with Plaintiffs’ arguments, there is a winner and

a loser in every case. Because a party is unsuccessful in a lawsuit does not mean the lawsuit, claim,

or defense was frivolous or in bad faith. As Mr. Driscoll notes, “[i]ndeed, every unsuccessful

litigant advanced at least one claim that was not likely to succeed.” Ex. B at ¶ 11. In fact, Comment




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[2] to Rule 3.1 expressly permits a lawyer to advance a client’s position “even though the lawyer

believes that the client’s position ultimately will not prevail.” D.C. Bar Appx. A, Rule 3.1, Cmt

[2]. Notably, after this Court issued its Order denying the Motion for Preliminary Injunction and

disagreement with Plaintiffs’ legal theories, Plaintiffs dismissed this lawsuit before any of the

Defendants appeared.

       In quoting from a Report issued by the District of Columbia Board on Professional

Responsibility, the District of Columbia Court of Appeals recently recognized “attorneys in the

District of Columbia should not fear discipline for making aggressive and creative arguments.” In

re Pearson, 228 A.3d 417, 424 (D.C. 2020). Contrary to the Court of Appeals’ endorsement in

Pearson, this Court would establish a chilling effect if it refers Mr. Kaardal to the Committee for

advancing arguments regarding his clients’ perceived constitutional violations – arguments which

have a legal basis underpinning them as opposed to arguments which are “creative and aggressive.”

This Court should exercise its judicial discretion not to refer Mr. Kaardal to the Committee due to

the potential chilling effect and precedent it will set for future litigants who want to challenge a

law or statute as unconstitutional with arguments which have a basis in fact and law.

 V.    Conclusion

       In the end, Mr. Kaardal has not engaged in conduct that warrants the imposition of

discipline. Clear and convincing evidence of a violation of the Rules does not exist as supported

by expert opinions from Richard Driscoll, Esq. Ex. B. Moreover, a significant chilling effect on

future litigants would occur if this Court refers Mr. Kaardal to the Committee for advancing his

clients’ good faith argument for an extension, modification, or reversal of existing law as expressly

permitted by Rule 3.1.




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       WHEREFORE, for the foregoing reasons, the Plaintiffs’ Counsel respectfully requests

this Court exercise its judicial discretion and decline to refer Mr. Kaardal to the Committee on

Grievances.

                                                 Respectfully submitted,

                                                 ECCLESTON & WOLF, P.C.

                                                 /s/ Channing L. Shor
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                                                 Mohrman, Kaardal & Erickson, P.A.




                                 CERTIFICATE OF SERVICE

       I hereby certify that on this 5th day of February 2021 a copy of the foregoing Response to

this Court’s January 7, 2021, Minute Order to Show Cause was served to all Counsel of Record

by this Court’s electronic filing system.

                                                 /s/ Channing L. Shor
                                                 Channing L. Shor (#1024861)




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